                     IN THE UNITED STATES BANKRUTPCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


In re                                                  Chapter 11

RONCO HOLDINGS, INC.                                   Case No.: 18-10511

                   Debtor.



        NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that, pursuant to Section 1109(b) of Title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rules 2002 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), LeClairRyan, a

Professional Limited Liability Company, hereby enters its appearance on behalf of Capital 2

Thrive, LLC and requests that all notices given or required to be given and all papers served in

this case be delivered to and served upon the party identified below at the following address:

                                  Jason M. Medley, Esq.
                                  Daniel M. Eliades, Esq.
                                 Caitlin C. Conklin, Esq.
                 LECLAIRRYAN, A PROFESSIONAL LIMITED LIABILITY COMPANY
                           1233 West Loop South, Suite 1000
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                               Telephone: (713) 752-8317
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                          Email: Jason.medley@leclairryan.com
                              daniel.eliades@leclairryan.com
                             Caitlin.conklin@leclairryan.com


        PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand not only includes notices and papers referred to in the

above-mentioned Bankruptcy Rules, but also includes, without limitation, all notices, orders,
pleadings, motions, applications, complaints, demands, hearings, request, answers, replies,

memoranda and briefs in support of any of the above, whether formal or informal, transmitted or

conveyed by electronic delivery, mail delivery, telephone, facsimile or otherwise, in this case.

       PLEASE TAKE FURTHER NOTICE that this notice of appearance, and any

subsequent appearance, pleading, claim, or suit, is not intended, nor shall be deemed, to waive

Capital 2 Thrive, LLC ’s: (i) right to contest the subject matter or personal jurisdiction of this

Court; (ii) right to seek abstention or withdrawal of any matter arising in this proceeding; (iii)

right to have final orders in non-core matters entered only after de novo review by a United

States District Court Judge; (iv) right to trial by jury in any proceeding so triable herein or in any

case, controversy or proceeding related hereto; (v) right to have the reference withdrawn by a

United States District Court Judge in any matter subject to mandatory or discretionary

withdrawal; (vi) right to enforce any contractual provisions with respect to arbitration; or (vii)

other rights, claims, actions, defenses, setoffs or recoupments to which Capital 2 Thrive, LLC is

or may be entitled under agreements, in law, or in equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments expressly are hereby reserved.

       PLEASE TAKE FURTHER NOTICE that this appearance is a limited appearance for

purposes of notice only. Accordingly, this Notice of Appearance is not to be construed as a

waiver of any rights, including, without limitation, the right to contest jurisdiction or service of

process or to demand trial by jury of any issue.




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Dated: May 10, 2018   LeClairRyan, PLLC

                          /s/ Jason M. Medley
                      Jason M. Medley, Esq.
                      LeClairRyan, PLLC
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                          /s/ Daniel M. Eliades
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                      /s/ Caitlin C. Conklin
                      Caitlin C. Conklin, Esq.
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                      Attorneys for Capital 2 Thrive, LLC




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                                 CERTIFICATE OF SERVICE

        I certify that on May 10, 2018, I caused the attached Notice of Appearance and Demand

for Service of Papers to be electronically filed with the Clerk, United States Bankruptcy Court,

Western District of Texas, by ECF and one copy of the aforementioned document by way of first

class mail or ECF to those persons listed on the attached service list.

         I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me is willfully false, I am subject to punishment.

Dated: May 10, 2018
                                                 By: /s/ Jason M. Medley
                                                     Jason M. Medley, Esq.
                                                     Jason.medley@leclairryan.com




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                                    SERVICE LIST

Debtor
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15505 Long Vista Drive, Suite 250
Austin, TX 78728
Via First Class Mail

Attorneys for Debtor
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Via ECF




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